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AO 450 (Rev. 5/85) Judgment in a Civil Case




                      United States District Court
                                       WESTERN DISTRICT OF NEW YORK



          SHARON WAS                              JUDGMENT IN A CIVIL CASE
                                                  CASE NUMBER: 02-CV-0577E
                    v.

          M&T BANK



          9 Jury Verdict.      This action came before the Court for a trial by jury. The issues have
               been tried and the jury has rendered its verdict.

          : Decision by Court.     This action came to a hearing before the Court. The issues
               have been heard and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED: that the defendant’s motion for summary judgment

          is granted.




          Date: February 10, 2004                       RODNEY C. EARLY, CLERK

                                                        By: s/Suzanne Grunzweig
                                                            Deputy Clerk
